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                         IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                 FAYETTEVILLE DIVISION

     UNITED STATES OF AMERICA                                                   PLAINTIFF

                   v.           Criminal Case No. 09-50103

     MANUEL A. GAXIOLA                                                          DEFENDANT

                                          O R D E R

             Now   on    this   31st   day    of    October,        2013,   come     on   for

     consideration defendant’s Motion For Return Of Property Under

     Federal Rule Of Criminal Procedure 41(e) (document #86), and the

     Magistrate Judge's Report And Recommendation (document #117), to

     which    no   objections      have   been     made,      and    the    Court,   having

     carefully reviewed said Report And Recommendation, finds that it

     is sound in all respects, and that it should be adopted in toto.

             IT IS THEREFORE ORDERED that the Magistrate Judge's Report

     And Recommendation (document #117) is adopted in toto.

             IT IS FURTHER ORDERED that, for the reasons stated in the

     Magistrate Judge's Report And Recommendation, defendant’s Motion

     For Return Of Property Under Federal Rule Of Criminal Procedure

     41(e) (document #86) is denied.

             IT IS SO ORDERED.

                                                     /s/ Jimm Larry Hendren
                                                   JIMM LARRY HENDREN
                                                   UNITED STATES DISTRICT JUDGE
